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                                         7 BARRAGAN and SA HOLIDAY, INC.

                                         8                         UNITED STATES DISTRICT COURT
                                         9                FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                        10

                                        11 SANTOS SAUL ALVAREZ                         Case No.: 2:20-cv-8226
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                                             BARRAGAN; SA HOLIDAY, INC.,
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                                        12                                             COMPLAINT FOR:
                                        13               Plaintiffs,
                                                                              1. BREACH OF CONTRACT;
                                        14                                    2. BREACH OF CONTRACT;
                                                 v.                           3. BREACH OF COVENANT OF
                                        15                                        GOOD FAITH AND FAIR
                                             DAZN NORTH AMERICA INC.; DAZN        DEALING;
                                        16
                                             MEDIA INC.; DAZN US LLC;         4. INTENTIONAL
                                        17   PERFORM INVESTMENT LIMITED;          INTERFERENCE WITH
                                                                                  CONTRACT;
                                        18
                                             GOLDEN BOY PROMOTIONS, LLC;      5. NEGLIGENT INTERFERENCE
                                             GOLDEN BOY PROMOTIONS, INC.;         WITH CONTRACT;
                                        19   OSCAR DE LA HOYA; AND DOES 1-25, 6. INTENTIONAL
                                        20                                        INTERFERENCE
                                                      Defendants,                 PROSPECTIVE ECONOMIC
                                        21                                        RELATIONS;
                                                                              7. NEGLIGENT INTERFERENCE
                                        22                                        PROSPECTIVE ECONOMIC
                                                                                  RELATIONS;
                                        23
                                                                              8. FRAUD - CONCEALMENT;
                                        24                                    9. BREACH OF FIDUCIARY
                                                                                  DUTY; AND
                                        25                                    10. DECLARATORY RELIEF
                                        26                                              DEMAND FOR JURY TRIAL
                                        27         For their Complaint, Plaintiffs SANTOS SAUL ALVAREZ BARRAGAN and
                                        28 SA HOLIDAY, INC. (collectively “Alvarez” or “Canelo”), allege as follows:
                                                                               1
                                                                           COMPLAINT
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                                         1                                        INTROUCTION
                                         2         1.     This lawsuit arises from the breach of the single largest contract in this
                                         3 history of boxing, and one of the largest in all of sport.

                                         4         2.     SANTOS SAUL ALVAREZ BARRAGAN is a professional boxer who
                                         5 is widely thought to be amongst the best of his generation; he is a four-division world

                                         6 champion. Alvarez is known to his fans worldwide as “Canelo.”

                                         7         3.     Defendants GOLDEN BOY PROMOTIONS, LLC, GOLDEN BOY
                                         8 PROMOTIONS, INC., and OSCAR DE LA HOYA (collectively “Golden Boy

                                         9 Promotions”) have been Alvarez’ boxing promotors since approximately 2010.
                                        10         4.     Defendants DAZN NORTH AMERICA INC., DAZN MEDIA INC.,
                                        11 DAZN US LLC, and PERFORM INVESTMENT LIMITED (collectively “DAZN”)
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                                        12 are a worldwide “over the top” sports broadcaster that airs boxing matches, amongst

                                        13 other events, via the DAZN website and app available on phones, tablets, smart tvs,

                                        14 and similar devices.1

                                        15         5.     Early on the morning of October 17, 2018, ESPN reported, “Canelo
                                        16 Alvarez signs 5-year, 11-fight deal worth minimum $365 million with DAZN.” 2

                                        17 Hours later, Eric Gomez (“Gomez”), President of Golden Boy Promotions, took the

                                        18 stage at a press conference at Madison Square Garden to officially announce the

                                        19 news.3 Gomez said:

                                        20         …For us this a major day today, there is historic news and we are very
                                        21         happy to share with all of you…Us at Golden Boy took a major step
                                        22         … by finalizing a deal with the sports streaming leader in the world,
                                        23         DAZN, so we’re very excited about that. Canelo will start a new era
                                        24         of sports with having his next 11 fights with DAZN…. Obviously for
                                        25
                                                   1
                                                    Plaintiffs are informed and believe that one or all of the DAZN defendants are the
                                        26
                                           successors of interest to Perform Investment Limited.
                                                  2
                                        27          https://www.espn.com/boxing/story/_/id/25003974/canelo-alvarez-signs-5-year-11-fight-
                                           deal-worth-365-million-dazn
                                        28        3
                                                    https://www.youtube.com/watch?v=SRAQhuc5fvQ
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                                                                                      COMPLAINT
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                                         1        Canelo this is historic as well…he’s got the richest guaranteed
                                         2        contract in sports history; so that is very exciting for him.
                                         3        6.     Moments later, John Skipper (“Skipper”), DAZN’s Executive Chairman,
                                         4 took the stage. He said:

                                         5        Right now, Canelo Alvarez is the most important fighter in pay-per-
                                         6        view….His next 11 fights will be available exclusively internationally
                                         7        on DAZN…During the course of this deal, five years and the next 11
                                         8        Canelo fights, DAZN will return premium boxing matches to fight
                                         9        fans for a reasonable, affordable, subscription price and we will build
                                        10        a robust subscription base off the demonstrated existing demand for
                                        11        these fights. Today represents a major shift in over-the-top sports
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                                        12        content….
                                        13        7.     In the 23 months since his union with Golden Boy and DAZN, Alvarez
                                        14 has fought in three boxing matches. He defeated Rocky Fielding on December 15

                                        15 2018 to capture the WBA World Super Middleweight title; he defeated Danny Jacobs

                                        16 on May 4, 2019 to unify the WBC, WBA, and IBF World Middleweight titles; and he

                                        17 defeated Sergey Kovalev on November 2, 2019 to capture the WBO World Light

                                        18 Heavyweight title.

                                        19        8.     Boxing fans and boxing media recognized the greatness of Alvarez’ 2019
                                        20 campaign. Sports Illustrated, ESPN, Ring Magazine, the Athletic, and the Boxing

                                        21 Writers Association of America named Canelo their 2019 Fighter of the Year.

                                        22 Following Alvarez’ knockout of Kovalev, Ring Magazine “The Bible of Boxing”

                                        23 elevated Alvarez to the top spot on their mythical pound-for-pound fighter ratings.

                                        24        9.     Despite Alvarez’ successes, both DAZN and Golden Boy have broken
                                        25 the promises they made to each other, Alvarez, and boxing fans; in doing so

                                        26 Defendants have breached their respective contracts and caused Alvarez damages of –

                                        27 at least - $280 million.

                                        28
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                                                                                 COMPLAINT
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                                         1                      PARTIES, JURISDICTION, AND VENUE
                                         2         10.   Plaintiff SANTOS SAUL ALVAREZ BARRAGAN is a citizen of the
                                         3 Country of Mexico.

                                         4         11.   Plaintiff SA HOLIDAY, INC. is a Nevada Corporation with its principle
                                         5 place of business in the State of Nevada.

                                         6         12.   Plaintiffs are informed and believe that Defendant DAZN NORTH
                                         7 AMERICA INC. is a Delaware Corporation with its principle place of business in the

                                         8 State of New York.

                                         9         13.   Plaintiffs are informed and believe that Defendant DAZN MEDIA INC.
                                        10 is a New York Corporation with its principle place of business in the State of New

                                        11 York.
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                                        12         14.   Plaintiffs are informed and believe that Defendant DAZN US LLC is a
                                        13 Delaware Limited Liability Company with its principle place of business in the State

                                        14 of New York.

                                        15         15.   Plaintiffs are informed and believe that Defendant PERFORM
                                        16 INVESTMENT LIMITED is a New York Limited Liability Company with its

                                        17 principle place of business in the State of New York.

                                        18         16.   Plaintiffs are informed and believe that one or all of the DAZN
                                        19 defendants are the successors of interest to PERFORM INVESTMENT LIMITED, a

                                        20 New York Limited Liability Company.

                                        21         17.   Plaintiffs are informed and believe that Defendant GOLDEN BOY
                                        22 PROMOTIONS, LLC, is a Delaware Limited Liability Company with its principle

                                        23 place of business in Los Angeles, California.

                                        24         18.   Plaintiffs are informed and believe that Defendant GOLDEN BOY
                                        25 PROMOTIONS, INC. is a California Corporation with its principle place of business

                                        26 in Los Angles, California.

                                        27         19.   Plaintiffs are informed and believe that Defendant OSCAR DE LA
                                        28 HOYA is an individual and a citizen of the State of California who resides in Los
                                                                                   4
                                                                              COMPLAINT
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                                         1 Angeles County.

                                         2        20.    Plaintiffs do not know the true names and capacities of defendants sued
                                         3 as DOES 1 through 25, who therefore sues said defendants under their fictitious

                                         4 names. Plaintiffs will seek leave to amend this complaint when the true names and

                                         5 capacities of these defendants have been ascertained.

                                         6        21.    At all times mentioned each defendant was an agent, principal,
                                         7 representative, alter ego and/or employee of the others and each was at all times acting

                                         8 within the course and scope of said agency, representation and/or employment and

                                         9 with the permission of the others.
                                        10        22.    This Court has jurisdiction over the subject matter of Plaintiffs’
                                        11 Complaint under 28 § 1441(a) because the Complaint is within this Court’s original
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                                        12 jurisdiction under 28 U.S.C. § 1332(a).

                                        13        23.    This Court has diversity jurisdiction over this matter pursuant to 28
                                        14 U.S.C. § 1332(a) because the parties are citizens of different states and nations and the

                                        15 amount in controversy exceeds the jurisdictional threshold of $75,000.

                                        16        24.    The Court has personal jurisdiction over the Defendants and venue is
                                        17 proper in the Central District of California because: 1) Golden Boy Promotions is

                                        18 based in Los Angeles County, within the Central District of California; 2) Oscar De

                                        19 La Hoya resides in Los Angeles County, within the Central District of California; and

                                        20 3) DAZN has employees, conducts business, and broadcasts to customers within the

                                        21 Central District of California.

                                        22              ALLEGATIONS COMMON TO ALL CAUSES OF ACTION
                                        23              The Agreement Between Golden Boy Promotions and DAZN
                                        24        25.    Plaintiffs are informed and believe that on or about October 11, 2018
                                        25 Golden Boy Promotions and DAZN entered into a contract for DAZN to broadcast

                                        26 boxing matches arranged and promoted by Golden Boy Promotions (“the DAZN

                                        27 Contract”) until, at least 2023.

                                        28
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                                                                                 COMPLAINT
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                                         1         26.     Alvarez, who, at that time, held the WBC, WBA and IBF World
                                         2 Middleweight titles was the crown jewel of the DAZN Contract. Alvarez’ previous

                                         3 three bouts had each sold over 1 million domestic pay-per-view buys and had

                                         4 generated hundreds of millions of dollars in revenue worldwide.

                                         5         27.     Plaintiffs are informed and believe that the DAZN Contract required
                                         6 DAZN to pay to Golden Boy Promotions a license fee of $40 million dollars per bout

                                         7 for ten Alvarez bouts expected to occur in the years 2019 to 2023. The DAZN

                                         8 Contract required DAZN to pay a reduced license fee for a December 2018 Alvarez

                                         9 bout with Rocky Fielding. Plaintiffs are informed and believe that at the time Golden
                                        10 Boy Promotions and DAZN entered into the DAZN Contract, the Defendants

                                        11 expected and understood that the bulk of the license fee to be paid to Golden Boy
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                                        12 Promotions would flow to Alvarez as his purse for the bouts.

                                        13         28.     Plaintiffs are informed and believe that the DAZN Contract required
                                        14 DAZN to pay significantly smaller license fees to broadcast up to ten annual boxing

                                        15 cards promoted and arranged by Golden Boy Promotions that did not feature Alvarez.

                                        16         29.     Plaintiffs were not party to the negotiations of the DAZN Contract;
                                        17 although Plaintiffs have repeatedly requested copies of the DAZN Contract from both

                                        18 Golden Boy Promotions and DAZN, it has not been shared with them.

                                        19               The Agreement Between Golden Boy Promotions and Alvarez
                                        20         30.     In the early morning hours of October 17, 2018, Alvarez and Golden Boy
                                        21 Promotions executed a contract that gave Golden Boy Promotions the right to arrange

                                        22 and promote Alvarez’ next eleven fights (“the Alvarez Contract” or together with the

                                        23 DAZN Contract, “the Contracts”).4

                                        24

                                        25         4
                                                     Prior to the execution of the Alvarez Contract, Golden Boy Promotions promoted Alvarez
                                        26 under an agreement wherein the parties contractually split the revenue generated from Alvarez’ pay-
                                           per-view bouts. The Alvarez Contract gave Alvarez continuing rights to audit revenues, expenses,
                                        27 and payments under it and the prior agreement. An audit is presently ongoing and Alvarez reserves
                                           all rights to recoup unpaid revenues or overcharged expenses for any of his bouts promoted by
                                        28 Golden Boy Promotions.
                                                                                            6
                                                                                       COMPLAINT
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                                         1          31.    The Alvarez Contract required Golden Boy to pay Alvarez guaranteed
                                         2 payments totaling $365 million for his next eleven boxing matches ($15 million for

                                         3 the December 2018 bout with Rocky Fielding and $35 million dollars for each of his

                                         4 ten bouts thereafter), expected to be on or about May 5 and September 15 of the years

                                         5 2019 to 2023.5 Pursuant to the Alvarez Contract, Oscar De La Hoya, Golden Boy

                                         6 Promotions’ CEO, personally assumed liability for all guaranteed payments.

                                         7          32.    The Alvarez Contract also specified the division of ticket revenues (the
                                         8 “gate”) from the bouts under the agreement between Plaintiffs and Golden Boy

                                         9 Promotions.
                                        10          33.    Other than Mr. Fielding, the Alvarez Contract did not require Alvarez to
                                        11 box any specific opponent. Instead, it specified that Alvarez’ opponents “be mutually
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                                        12 selected by [Alvarez] and [Golden Boy Promotions], subject to [Alvarez’] final

                                        13 approval, not to be unreasonably withheld.” Notably, the Alvarez Contract did not

                                        14 mention that DAZN would have any right to accept or reject any opponents selected

                                        15 by Alvarez.

                                        16          34.    The Alvarez Contract carved out specific potential opponents – including
                                        17 former world middleweight champion, Gennady Golovkin – as requiring a guaranteed

                                        18 payment of no less than $35 million, to be separately negotiated between Alvarez and

                                        19 Golden Boy Promotions.

                                        20          35.    At the same time Plaintiffs executed the Alvarez Contract, Alvarez also
                                        21 signed a Deed acknowledging that Golden Boy Promotions had contracted that his

                                        22 next eleven bouts, including two in each 2019 to 2023, would be broadcast by DAZN

                                        23 and that he would actively participate in agreed promotional activities related to those

                                        24 bouts.

                                        25
                                                    5
                                                    The weekends of Cinco de Mayo and Mexican Independence Day have traditionally been
                                        26
                                           the time when boxings biggest stars have put on its biggest bouts It is Alvarez’ custom and practice
                                        27 to celebrate his Mexican heritage by boxing on the Saturday night closes to each holiday. See,
                                           https://www.espn.com/boxing/story/_/id/19315783/how-cinco-de-mayo-became-boxing-holiday-
                                        28 canelo-alvarez-vs-julio-cesar-chavez-jr
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                                                                                     COMPLAINT
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                                         1                         The Bouts and the Defendants’ Breaches
                                         2         36.    On December 15, 2018, Alvarez beat Mr. Fielding by TKO in the third
                                         3 round of their bout to capture the WBA World Super Middleweight title.

                                         4         37.    Prior to the Fielding bout, Alvarez participated in all requested customary
                                         5 promotional activities for world title fights, such as allowing DAZN to film certain

                                         6 training sessions, participating in live and remote press conferences and interviews,

                                         7 participating in public workouts, appearing on popular shows to discuss the upcoming

                                         8 bout, signing hundreds of promotional products, and posting about his training and the

                                         9 bout on his social media channels.
                                        10         38.    On or about January 17, 2019, Alvarez announced on Twitter that his
                                        11 next opponent would be fellow middleweight champion Danny Jacobs. Plaintiffs are
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                                        12 informed and believe that the idea for a bout with Jacobs originated with DAZN,

                                        13 which wanted to sign Mr. Jacobs to a multi-bout contract and use the bout with

                                        14 Alvarez to promote Jacobs’ novel backstory (Mr. Jacobs came back from mid-career

                                        15 bone cancer to capture a world title).

                                        16         39.    On May 4, 2019, Alvarez beat Mr. Jacobs by unanimous decision to
                                        17 unify the middleweight division. Alvarez left the bout holding the WBC, WBA, and

                                        18 IBF World Middleweight titles. Just days later, it was reported that DAZN executives

                                        19 were “thrilled” that the Jacobs bout drew 1.2 million viewers for DAZN.6

                                        20         40.    Prior to the Jacobs bout, Alvarez participated in all requested customary
                                        21 promotional activities for world title fights, such as allowing DAZN to film certain

                                        22 training sessions, participating in live and remote press conferences and interviews,

                                        23 participating in public workouts, appearing on popular shows to discuss the upcoming

                                        24 bout, signing hundreds of promotional products, and posting about his training and the

                                        25 bout on his social media channels.

                                        26

                                        27
                                                   6
                                                    https://www.latimes.com/sports/boxing/la-sp-boxing-dazn-canelo-jacobs-20190508-
                                        28 story.html
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                                                                                    COMPLAINT
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                                         1        41.     In the spring of 2019, Alvarez expressed interest in a bout with WBO
                                         2 World Light Heavyweight Champion Sergey Kovalev. Around this time, Alvarez

                                         3 became aware that DAZN was growing frustrated at his choice of desired opponents.

                                         4 Alvarez came to understand that DAZN believed that DE LA HOYA and/or other

                                         5 representatives of Golden Boy Promotions had promised – either contractually or

                                         6 otherwise – that Alvarez would select Gennady Golovkin as one of his 2019

                                         7 opponents. Prior to these discussions with Defendants, Alvarez was unaware that

                                         8 DAZN believed Golden Boy Promotions had promised that he would fight Golovkin,

                                         9 unaware that the DAZN Contract gave DAZN the right to reject the opponents he
                                        10 selected, and was unaware that the DAZN Contract contained clauses potentially

                                        11 inconsistent with those of the Alvarez Contract.
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                                        12        42.     After discussions between Alvarez, Golden Boy Promotion, and DAZN,
                                        13 it was agreed that Alvarez would face Mr. Kovalev in the fall of 2019. However, due

                                        14 to a delay in all parties agreeing to the opponent, the bout could not be set for

                                        15 September 14 and had to be delayed until November 2.

                                        16        43.     At a press conference, days prior to Kovalev bout, DAZN’s Executive
                                        17 Vice President, Joe Markowski, called Canelo v. Kovalev the biggest fight that DAZN

                                        18 had put on in the United States. He described Canelo as “truly admirable” for moving

                                        19 up two weight classes to challenge “the biggest name in the division” and said about

                                        20 Alvarez, “We couldn’t ask for a better partner.”7

                                        21        44.     On November 2, Alvarez knocked out Mr. Kovalev in the eleventh round
                                        22 to capture a world champion in his fourth weight class.

                                        23        45.     Prior to the Kovalev bout, Alvarez participated in all requested
                                        24 customary promotional activities for world title fights, such as allowing DAZN to film

                                        25 certain training sessions, participating in live and remote press conferences and

                                        26 interviews, participating in public workouts, appearing on popular shows to discuss

                                        27

                                        28        7
                                                      https://www.youtube.com/watch?v=rPaQdRMIbPw
                                                                                        9
                                                                                    COMPLAINT
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                                         1 the upcoming bout, signing hundreds of promotional products, and posting about his

                                         2 training and the bout on his social media channels.

                                         3        46.    Boxing fans and the boxing press recognized that Alvarez 2019 bouts
                                         4 were amongst the greatest year for any boxer ever. He was honored with Fighter of

                                         5 the Year by Ring Magazine, ESPN, The Athletic, Sports Illustrated, and the Boxing

                                         6 Writers Association of America. 8

                                         7        47.    In 2019 Alvarez also undertook efforts to promote other bouts broadcast
                                         8 by DAZN as well as promoting DAZN itself. For example, on or about March 30,

                                         9 2019, Alvarez traveled to Indio, California to watch Ryan Garcia box Jose Lopez;
                                        10 without compensation, Alvarez appeared on the DAZN broadcast, was interviewed,

                                        11 and posted clips of the event on his social media platforms. Similarly, in December
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                                        12 2019, Alvarez traveled to Saudi Arabia to watch Andy Ruiz Jr. box Anthony Joshua;

                                        13 without compensation, Alvarez appeared on the DAZN broadcast, was interviewed,

                                        14 and posted clips of the event on his social media platforms.

                                        15        48.    In late 2019 and early 2020, the Parties began discussions regarding
                                        16 potential opponents and venues for Alvarez’ 2020 bouts. In or about March 2020,

                                        17 there was agreement between the Parties regarding an opponent and venue for

                                        18 Alvarez’ May 2020 bout, but that bout was never finalized announced due to the then-

                                        19 spreading COVID-19 pandemic, which eventually caused sports events worldwide to

                                        20 be postponed or cancelled for most of the spring of 2020.

                                        21        49.    In or about May 2020, governing bodies across boxing – state athletic
                                        22 commissions and titling organizations – began to release protocols for holding bouts

                                        23 while being mindful of COVID-19. For the vast majority of jurisdictions, these

                                        24 protocols required COVID-19 testing, a “bubble” or “campus” arrangement in the

                                        25 days leading up to the bout, and attendance limited to only those required to put on the

                                        26

                                        27
                                                  8
                                                    https://www.bwaa.org/single-post/2020/01/17/Canelo-Alvarez-Is-The-BWAA-2019-
                                        28 Fighter-Of-The-Year
                                                                                        10
                                                                                    COMPLAINT
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                                         1 events – fans were generally excluded.

                                         2        50.   In or about May 2020, and continuing thereafter, the Parties resumed
                                         3 their discussions regarding plans for Alvarez’ 2020 bouts. The Parties discussed

                                         4 holding boxing matches at venues that would be impossible with fans – such as the

                                         5 top of skyscrapers – but could elevate a “COVID-19 Era” event to historic and

                                         6 spectacular. Both Alvarez and Golden Boy Promotions acknowledged that bouts

                                         7 without fans would deprive them of the gate, but agreed that they were willing to

                                         8 forgo that revenue for the benefit of boxing fans and DAZN. During these

                                         9 discussions, DAZN inquired if Golden Boy Promotions and Alvarez would be willing
                                        10 to accept immediate payment of less than the $40 million license fee for 2020 bouts in

                                        11 exchange for delayed or alternate compensation. Golden Boy Promotions and Alvarez
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                                        12 agreed they would evaluate such offers in good faith if they were made, but that time

                                        13 was of the essence because Alvarez was ready, willing, and able to face world-class

                                        14 opponents in both September and December 2020 and the bouts would need to be

                                        15 arranged quickly. In discussions, the Parties all acknowledged that the Contracts

                                        16 already specified the required payments between them.

                                        17        51.   Despite repeated promises that an alternative offer was imminent, DAZN
                                        18 failed to make a proposal to either Golden Boy Promotions or Alvarez for several

                                        19 months. When Golden Boy Promotions and Alvarez proposed opponents, DAZN

                                        20 refused to confirm that it was prepared to broadcast Alvarez’ September 2020 bout or

                                        21 that it would pay the contracted $40 million license fee.

                                        22        52.   On June 24, 2020 – approximately 10 weeks before Alvarez’ expected
                                        23 September bout date and the time when Alvarez would need to begin training camp

                                        24 for a bout in mid-September 2020 – Alvarez’ counsel wrote to Golden Boy

                                        25 Promotions and DAZN to confirm that Alvarez was prepared to face multiple

                                        26 potential world-class opponents, but that DAZN and Golden Boy Promotions needed

                                        27 to affirm their commitments so that the bout could be finalized, promoted, and his

                                        28 training could commence.
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                                                                                COMPLAINT
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                                         1        53.    In response, DAZN responded with an anticipatory breach of the DAZN
                                         2 and Alvarez Contracts. It unambiguously stated that it would not pay the required

                                         3 license fee, and provided a with a series of excuses, including, but not limited to, the

                                         4 fact that Alvarez had not fought Mr. Golovkin in 2019 and that Golden Boy

                                         5 Promotions had not put forth a plan for a second Alvarez fight in 2020.

                                         6        54.    After extended discussions between the parties, DAZN offered to pay
                                         7 Alvarez and Golden Boy Promotions a fraction of the contracted $40 million license

                                         8 fee in cash and some DAZN stock in advance of a potential IPO. However, the entire

                                         9 value of the package – for a bout against another World Champion – was substantially
                                        10 less than Alvarez’ contractual guarantee.

                                        11        55.    Given that DAZN had made it clear that it would not honor its contract,
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                                        12 throughout the spring and summer of 2020, Alvarez repeatedly asked Golden Boy

                                        13 Promotions to explore alternative broadcast options for a fall 2020 bout. Although

                                        14 Golden Boy Promotions reported that it was talking to various broadcasters, it failed

                                        15 to put forth a single alternative plan by which it would pay Alvarez the $35 million it

                                        16 had promised him for each of his fights.

                                        17        56.    Alvarez has fought the first three of his eleven fights under the Alvarez
                                        18 and DAZN Contracts, he is owed remaining guaranteed payments of $280 million

                                        19 dollars.

                                        20                              FIRST CAUSE OF ACTION
                                        21                               BREACH OF CONTRACT
                                        22   BY PLAINTIFFS AGAINST DAZN NORTH AMERICA INC., DAZN MEDIA
                                        23   INC., DAZN US LLC, PERFORM INVESTMENT LIMITED, AND DOES 1-13
                                        24        57.    Alvarez incorporates by reference as if fully set forth herein each of the
                                        25 preceding allegations.

                                        26        58.    In October 2018, DAZN and Golden Boy Promotions entered into the
                                        27 DAZN Contract. Plaintiffs were intended third-party beneficiaries to the DAZN

                                        28 Contract, which was executed primarily so that DAZN would have the right to
                                                                                 12
                                                                             COMPLAINT
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                                         1 broadcast bouts featuring Alvarez, boxing’s biggest star.

                                         2        59.   Pursuant to the Contracts, Golden Boy Promotions was to arrange and
                                         3 promote, and DAZN was to broadcast, Alvarez’ next eleven professional boxing

                                         4 matches, and Alvarez was to be paid a guaranteed total of $365 million dollars.

                                         5        60.   Since the execution of the Contracts, Alvarez has done all, or
                                         6 substantially all, of the things required by the Alvarez Contract. Alvarez won three

                                         7 consecutive world title fights, was named Fighter of the Year, and Pound for Pound

                                         8 Number 1. He also undertook all requested customary promotional activities, and also

                                         9 promoted other boxing matches promoted and/or broadcast by Defendants, going
                                        10 beyond the minimum of his contractual obligations.

                                        11        61.   Despite Alvarez’ efforts and amazing successes, DAZN and the DOES
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                                        12 have breached the Contracts by refusing to pay the required and agreed license fee to

                                        13 broadcast Alvarez’ future bouts.

                                        14        62.   DAZN and DOES’ breaches have caused Alvarez to suffer harm and
                                        15 damages, including, but not limited to, the denied guaranteed payments, lost gate

                                        16 revenue, and opportunities for ancillary revenue associated with bouts, such as

                                        17 sponsorships and apparel revenue.

                                        18                            SECOND CAUSE OF ACTION
                                        19                              BREACH OF CONTRACT
                                        20   BY PLAINTIFFS AGAINST GOLDEN BOY PROMOTIONS, LLC, GOLDEN
                                        21       BOY PROMOTIONS, INC., OSCAR DE LA HOYA, AND DOES 14-25
                                        22        56.   Alvarez incorporates by reference as if fully set forth herein each of the
                                        23 preceding allegations.

                                        24        57.   In October 2018, Alvarez and Golden Boy Promotions entered into the
                                        25 Alvarez Contract. Pursuant to the Contract, Golden Boy Promotions was to arrange

                                        26 and promote, and DAZN was to broadcast, Alvarez’ next eleven professional boxing

                                        27 matches, and Alvarez was to be paid a guaranteed total of $365 million dollars.

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                                                                                COMPLAINT
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                                         1        59.    Since the execution of the Contracts, Alvarez has done all, or
                                         2 substantially all, of the things required by the Alvarez Contract. Alvarez won three

                                         3 consecutive world title fights, was named Fighter of the Year, and Pound for Pound

                                         4 Number 1. He also undertook all requested customary promotional activities, and also

                                         5 promoted other boxing matches promoted and/or broadcast by Defendants, going

                                         6 beyond the minimum of his contractual obligations.

                                         7        60.    Despite Alvarez’ efforts and amazing successes, Golden Boy Promotions
                                         8 and DOES have breached the Contracts by refusing to pay Alvarez his guarantees for

                                         9 upcoming and future bouts.
                                        10        61.    The behavior and breaches of Golden Boy Promotions and DOES cannot
                                        11 simply be cast onto DAZN’s failure to pay its license fee. In the Alvarez Contract
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                                        12 Golden Boy Promotions and De La Hoya personally committed to make the

                                        13 guaranteed payments. After DAZN announced it would breach its obligations to pay

                                        14 the license fee, Alvarez accommodated Golden Boy with several weeks to find an

                                        15 alternative means of broadcasting his bouts and paying his guarantee. Golden Boy

                                        16 Promotions failed to present a single plan thereafter.

                                        17        63.    Golden Boy Promotions and DOES’ breaches have caused Alvarez to
                                        18 suffer harm and damages, including, but not limited to, the denied guaranteed

                                        19 payments, lost gate revenue, and opportunities for ancillary revenue associated with

                                        20 bouts, such as sponsorships and apparel revenue.

                                        21                              THIRD CAUSE OF ACTION
                                        22        BREACH OF COVENANT OF GOOD FAITH AND FAIR DEALING
                                        23                  BY PLAINTIFFS AGAINST ALL DEFENDANTS
                                        24        64.    Alvarez incorporates by reference as if fully set forth herein each of the
                                        25 preceding allegations.

                                        26        65.    In October 2018, the Alvarez and the Defendants entered into the
                                        27 Contracts. Plaintiffs were signatories to the Alvarez Contract, and intended third-

                                        28 party beneficiaries to the DAZN Contract.
                                                                                 14
                                                                              COMPLAINT
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                                         1        66.    Pursuant to the Contracts, Golden Boy Promotions was to arrange and
                                         2 promote, and DAZN was to broadcast, Alvarez’ next eleven professional boxing

                                         3 matches, and Alvarez was to be paid a guaranteed total of $365 million dollars.

                                         4        67.    Since the execution of the Contracts, Alvarez has done all, or
                                         5 substantially all, of the things required by the Alvarez Contract. Alvarez won three

                                         6 consecutive world title fights, was named Fighter of the Year, and Pound for Pound

                                         7 Number 1. He also undertook all requested customary promotional activities, and also

                                         8 promoted other boxing matches promoted and/or broadcast by Defendants, going

                                         9 beyond the minimum requirements of his contractual obligations.
                                        10        68.    Despite Alvarez’ efforts and amazing successes, the Defendants have
                                        11 interfered with Alvarez’ rights to receive the benefits of the Contracts by refusing to
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                                        12 pay the guaranteed sums to promote and/or broadcast Alvarez’ future bouts.

                                        13        69.    Defendants have caused Alvarez to suffer harm and damages, including,
                                        14 but not limited to, the denied guaranteed payments, lost gate revenue, and

                                        15 opportunities for ancillary revenue associated with bouts, such as sponsorships and

                                        16 apparel revenue.

                                        17                            FOURTH CAUSE OF ACTION
                                        18               INTENTIONAL INTERFERENCE WITH CONTRACT
                                        19   BY PLAINTIFFS AGAINST DAZN NORTH AMERICA INC., DAZN MEDIA
                                        20   INC., DAZN US LLC, PERFORM INVESTMENT LIMITED, AND DOES 1-13
                                        21        70.    Alvarez incorporates by reference as if fully set forth herein each of the
                                        22 preceding allegations.

                                        23        71.    In October 2018, the Alvarez and Golden Boy Promotions entered into
                                        24 the Alvarez Contract by which Golden Boy Promotions was to pay Alvarez

                                        25 guaranteed sums totaling $365 million dollars to arrange and promote his next eleven

                                        26 bouts, to be broadcast by DAZN.

                                        27        72.    DAZN and DOES knew of the Alvarez Contract because it was widely
                                        28 covered by the boxing press, because DAZN’s Global Chairman was present when the
                                                                                 15
                                                                              COMPLAINT
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                                         1 Alvarez Contract was officially announced, because DAZN officials referenced it

                                         2 thereafter, and because Alvarez, Golden Boy Promotions, and DAZN worked

                                         3 collectively for nearly two years to promote Alvarez bouts broadcast on DAZN.

                                         4        73.    Despite the successes of Alvarez’ 2019 bouts, DAZN and DOES refused
                                         5 to affirm it would pay its contracted license fee for Alvarez’s bouts in 2020 and

                                         6 beyond. Instead it offered Alvarez and Golden Boy Promotions substantially less than

                                         7 the agreed upon license fee and refused to approve opponents for Alvarez.

                                         8        74.    DAZN and DOES conduct prevented Golden Boy Promotions from
                                         9 arranging, promoting, and paying Alvarez for his bouts as required under the Alvarez
                                        10 Agreement.

                                        11        75.    When DAZN and DOES refused to affirm it would pay the license fee
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                                        12 due to Golden Boy Promotions and Alvarez, they intended to disrupt the performance

                                        13 of the Contracts or knew that disruption of performance was certain or substantially

                                        14 certain to occur.

                                        15        76.    Due to DAZN and DOES interference, Alvarez has suffered harm and
                                        16 damages, including, but not limited to, the denied guaranteed payments, lost gate

                                        17 revenue, and opportunities for ancillary revenue associated with bouts, such as

                                        18 sponsorships and apparel revenue.

                                        19        77.    DAZN and DOES were a substantial factor in causing Alvarez’ harm.
                                        20        78.    DAZN and DOES, by engaging in the aforementioned acts and
                                        21 omissions, and/or by authorizing and/or ratifying such acts, engaged in willful,

                                        22 malicious, intentional, oppressive and despicable conduct, and acted with willful and

                                        23 conscious disregard for the rights, welfare, and safety of Alvarez, thereby justifying

                                        24 the award of punitive and exemplary damages in an amount to be determined at trial.

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                                                                                 COMPLAINT
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                                         1                             FIFTH CAUSE OF ACTION
                                         2                NEGLIGENT INTERFERENCE WITH CONTRACT
                                         3   BY PLAINTIFFS AGAINST DAZN NORTH AMERICA INC., DAZN MEDIA
                                         4   INC., DAZN US LLC, PERFORM INVESTMENT LIMITED, AND DOES 1-13
                                         5        79.   Alvarez incorporates by reference as if fully set forth herein each of the
                                         6 preceding allegations.

                                         7        80.   In October 2018, the Alvarez and Golden Boy Promotions entered into
                                         8 the Alvarez Contract by which Golden Boy Promotions was to pay Alvarez

                                         9 guaranteed sums totaling $365 million dollars to arrange and promote his next eleven
                                        10 bouts, to be broadcast by DAZN.

                                        11        81.   DAZN and DOES knew or should have of the Alvarez Contract because
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                                        12 it was widely covered by the boxing press, because DAZN’s Global Chairman was

                                        13 present when the Alvarez Contract was officially announced, because DAZN officials

                                        14 referenced it thereafter, and because Alvarez, Golden Boy Promotions, and DAZN

                                        15 worked collectively for nearly two years to promote Alvarez bouts broadcast on

                                        16 DAZN.

                                        17        82.   Despite the successes of Alvarez’ 2019 bouts, DAZN and DOES refused
                                        18 to affirm it would pay its contracted license fee for Alvarez’s bouts in 2020 and

                                        19 beyond. Instead it offered Alvarez and Golden Boy Promotions substantially less than

                                        20 the agreed upon license fee and refused to approve opponents for Alvarez.

                                        21        83.   DAZN and DOES conduct prevented Golden Boy Promotions from
                                        22 arranging, promoting, and paying Alvarez for his bouts as required under the Alvarez

                                        23 Agreement.

                                        24        84.   When DAZN and DOES refused to affirm it would pay the license fee
                                        25 due to Golden Boy Promotions and Alvarez, they knew or should have known that

                                        26 their refusals would disrupt the performance of the Contracts.

                                        27        85.   Due to DAZN and DOES interference, Alvarez has suffered harm and
                                        28 damages, including, but not limited to, the denied guaranteed payments, lost gate
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                                                                                COMPLAINT
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                                         1 revenue, and opportunities for ancillary revenue associated with bouts, such as

                                         2 sponsorships and apparel revenue.

                                         3        86.    DAZN and DOES were a substantial factor in causing Alvarez’ harm.
                                         4                              SIXTH CAUSE OF ACTION
                                         5         INTENTIONAL INTERFERENCE PROSPECTIVE ECONOMIC
                                         6                                      RELATIONS
                                         7   BY PLAINTIFFS AGAINST DAZN NORTH AMERICA INC., DAZN MEDIA
                                         8   INC., DAZN US LLC, PERFORM INVESTMENT LIMITED, AND DOES 1-13
                                         9        87.    Alvarez incorporates by reference as if fully set forth herein each of the
                                        10 preceding allegations.

                                        11        88.    In October 2018, the Alvarez and Golden Boy Promotions entered into
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                                        12 the Alvarez Contract by which Golden Boy Promotions was to pay Alvarez

                                        13 guaranteed sums totaling $365 million dollars to arrange and promote his next eleven

                                        14 bouts, to be broadcast by DAZN; this economic relationship probably would have

                                        15 resulted in future economic benefit to Alvarez.

                                        16        89.    DAZN and DOES knew or should have known of the Alvarez Contract
                                        17 because it was widely covered by the boxing press, because DAZN’s Global

                                        18 Chairman was present when the Alvarez Contract was officially announced, because

                                        19 DAZN officials referenced it thereafter, and because Alvarez, Golden Boy

                                        20 Promotions, and DAZN worked collectively for nearly two years to promote Alvarez

                                        21 bouts broadcast on DAZN.

                                        22        90.   Despite the successes of Alvarez’ 2019 bouts, DAZN and DOES refused
                                        23 to affirm it would pay its contracted license fee for Alvarez’s bouts in 2020 and

                                        24 beyond. Instead it offered Alvarez and Golden Boy Promotions substantially less than

                                        25 the agreed upon license fee and refused to approve opponents for Alvarez.

                                        26        91.   DAZN and DOES’s knew or should have known that its acts would
                                        27 prevent Golden Boy Promotions from arranging, promoting, and paying Alvarez for

                                        28 his bouts as required under the Alvarez Agreement.
                                                                                   18
                                                                                COMPLAINT
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                                         1        92.    When DAZN and DOES refused to affirm it would pay the license fee
                                         2 due to Golden Boy Promotions and Alvarez, they knew or should have known that

                                         3 they would disrupt the performance of the Contracts or knew that disruption of

                                         4 performance was certain or substantially certain to occur.

                                         5        93.    Due to DAZN and DOES interference, Alvarez has suffered harm and
                                         6 damages, including, but not limited to, the denied guaranteed payments, lost gate

                                         7 revenue, and opportunities for ancillary revenue associated with bouts, such as

                                         8 sponsorships and apparel revenue.

                                         9        94.    DAZN and DOES were a substantial factor in causing Alvarez’ harm.
                                        10        95.    DAZN and DOES, by engaging in the aforementioned acts and
                                        11 omissions, and/or by authorizing and/or ratifying such acts, engaged in willful,
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                                        12 malicious, intentional, oppressive and despicable conduct, and acted with willful and

                                        13 conscious disregard for the rights, welfare, and safety of Alvarez, thereby justifying

                                        14 the award of punitive and exemplary damages in an amount to be determined at trial.

                                        15                            SEVENTH CAUSE OF ACTION
                                        16   NEGLIGENT INTERFERENCE PROSPECTIVE ECONOMIC RELATIONS
                                        17   BY PLAINTIFFS AGAINST DAZN NORTH AMERICA INC., DAZN MEDIA
                                        18   INC., DAZN US LLC, PERFORM INVESTMENT LIMITED, AND DOES 1-13
                                        19        96.    Alvarez incorporates by reference as if fully set forth herein each of the
                                        20 preceding allegations.

                                        21        97.    In October 2018, the Alvarez and Golden Boy Promotions entered into
                                        22 the Alvarez Contract by which Golden Boy Promotions was to pay Alvarez

                                        23 guaranteed sums totaling $365 million dollars to arrange and promote his next eleven

                                        24 bouts, to be broadcast by DAZN; this economic relationship probably would have

                                        25 resulted in future economic benefit to Alvarez.

                                        26        98.    DAZN and DOES knew or should have known of the Alvarez Contract
                                        27 because it was widely covered by the boxing press, because DAZN’s Global

                                        28 Chairman was present when the Alvarez Contract was officially announced, because
                                                                                19
                                                                            COMPLAINT
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                                         1 DAZN officials referenced it thereafter, and because Alvarez, Golden Boy

                                         2 Promotions, and DAZN worked collectively for nearly two years to promote Alvarez

                                         3 bouts broadcast on DAZN.

                                         4        99.   Despite the successes of Alvarez’ 2019 bouts, DAZN and DOES refused
                                         5 to affirm it would pay its contracted license fee for Alvarez’s bouts in 2020 and

                                         6 beyond. Instead it offered Alvarez and Golden Boy Promotions substantially less than

                                         7 the agreed upon license fee and refused to approve opponents for Alvarez.

                                         8        100. DAZN and DOES’s knew or should have known that its acts would
                                         9 prevent Golden Boy Promotions from arranging, promoting, and paying Alvarez for
                                        10 his bouts as required under the Alvarez Agreement.

                                        11        101. When DAZN and DOES refused to affirm it would pay the license fee
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                                        12 due to Golden Boy Promotions and Alvarez, they knew or should have known that

                                        13 they would disrupt the performance of the Contracts or knew that disruption of

                                        14 performance was certain or substantially certain to occur.

                                        15        102. Due to DAZN and DOES interference, Alvarez has suffered harm and
                                        16 damages, including, but not limited to, the denied guaranteed payments, lost gate

                                        17 revenue, and opportunities for ancillary revenue associated with bouts, such as

                                        18 sponsorships and apparel revenue.

                                        19        103. DAZN and DOES were a substantial factor in causing Alvarez’ harm.
                                        20                            EIGHTH CAUSE OF ACTION
                                        21                              FRAUD - CONCEALMENT
                                        22   BY PLAINTIFFS AGAINST GOLDEN BOY PROMOTIONS, LLC, GOLDEN
                                        23       BOY PROMOTIONS, INC., OSCAR DE LA HOYA, AND DOES 14-25
                                        24        104. Alvarez incorporates by reference as if fully set forth herein each of the
                                        25 preceding allegations.

                                        26        105. In October 2018, the Alvarez and Golden Boy Promotions entered into
                                        27 the Alvarez Contract. Other than Mr. Fielding, the Alvarez Contract did not require

                                        28 Alvarez to box any specific opponent. Instead, it specified that Alvarez’ opponents
                                                                                  20
                                                                              COMPLAINT
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                                         1 “be mutually selected by [Alvarez] and [Golden Boy Promotions], subject to

                                         2 [Alvarez’] final approval, not to be unreasonably withheld.”

                                         3        106. The Alvarez Contract did not require Alvarez to select Mr. Golovkin as
                                         4 his opponent in 2019, or at any time thereafter. In fact, the Alvarez Contract required

                                         5 that a bout with Mr. Golovkin would require additional guaranteed payment in excess

                                         6 of $25 million, to be separately negotiated.

                                         7        107. Notably, the Alvarez Contract did not mention that DAZN would have
                                         8 any right to accept or reject any opponents selected by Alvarez. Alvarez was not told

                                         9 that Golden Boy Promotions had already entered into an agreement with DAZN that
                                        10 gave DAZN a role in approving his future opponents. Neither did Golden Boy

                                        11 Promotions or DOES disclose that they had represented to DAZN that Alvarez would
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                                        12 have a bout with Mr. Golovkin in 2019.

                                        13        108. Golden Boy Promotions and DOES intentionally failed to disclose that
                                        14 they had made representations and/or promises to DAZN that exceeded or were

                                        15 inconsistent with the terms of the Alvarez Contract.

                                        16        109. Had Golden Boy and DOES disclosed that their representations and/or
                                        17 promises to DAZN exceeded or were inconsistent with the terms of the Alvarez

                                        18 Contract, Alvarez reasonably would have behaved differently, negotiated differently,

                                        19 and may not have agreed to the Alvarez Contract without further protections.

                                        20        110. Alvarez is informed and believes that DAZN is now using the previously
                                        21 undisclosed representations and/or promises of Golden Boy Promotions and DOES as

                                        22 excuses for its failure to approve of and pay for Alvarez bouts in the fall 2020 and

                                        23 beyond.

                                        24        111. Due to Golden Boy Promotions and DOES representations to DAZN and
                                        25 concealment thereof, Alvarez has suffered harm and damages, including, but not

                                        26 limited to, the denied guaranteed payments, lost gate revenue, and opportunities for

                                        27 ancillary revenue associated with bouts, such as sponsorships and apparel revenue.

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                                                                                 COMPLAINT
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                                         1        112. Golden Boy Promotions and DOES were a substantial factor in causing
                                         2 Alvarez’ harm.

                                         3        113. Golden Boy Promotions and DOES, by engaging in the aforementioned
                                         4 acts and omissions, and/or by authorizing and/or ratifying such acts, engaged in

                                         5 willful, malicious, intentional, oppressive and despicable conduct, and acted with

                                         6 willful and conscious disregard for the rights, welfare, and safety of Alvarez, thereby

                                         7 justifying the award of punitive and exemplary damages in an amount to be

                                         8 determined at trial.

                                         9                             NINTH CAUSE OF ACTION
                                        10                            BREACH OF FIDUCIARY DUTY
                                        11   BY PLAINTIFFS AGAINST GOLDEN BOY PROMOTIONS, LLC, GOLDEN
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                                        12       BOY PROMOTIONS, INC., OSCAR DE LA HOYA, AND DOES 14-25
                                        13        114. Alvarez incorporates by reference as if fully set forth herein each of the
                                        14 preceding allegations.

                                        15        115. In October 2018, the Alvarez and Golden Boy Promotions and DOES
                                        16 entered into the Alvarez Contract wherein Golden Boy Promotions was to arrange and

                                        17 promote Alvarez next eleven bouts. By entering into the Alvarez Contract, Golden

                                        18 Boy Promotions and DOES became Alvarez’ limited agents and undertook fiduciary

                                        19 obligations and duties.

                                        20        116. At that time and continuing thereafter, Golden Boy Promotions and
                                        21 DOES failed to consistently act in good faith in the best interests of Alvarez and failed

                                        22 to act as a reasonably careful promotor would have acted under the circumstances.

                                        23 After DAZN informed Alvarez and Golden Boy Promotions that it would not pay the

                                        24 license fee for Alvarez’ anticipated September 2020 bout, Golden Boy acted in

                                        25 furtherance of its own interests by trying to preserve its opportunities for non-Alvarez

                                        26 bouts (and associated license fees) with DAZN. Golden Boy Promotions failed to

                                        27 make any other proposal to Alvarez as to how it would get his bouts broadcast or pay

                                        28 the fees guaranteed him.
                                                                                   22
                                                                                 COMPLAINT
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                                         1        117. Due to Golden Boy Promotions and DOES breaches of their fiduciary
                                         2 duties, Alvarez has suffered harm and damages, including, but not limited to, the

                                         3 denied guaranteed payments, lost gate revenue, and opportunities for ancillary revenue

                                         4 associated with bouts, such as sponsorships and apparel revenue.

                                         5        118. Golden Boy Promotions and DOES were a substantial factor in causing
                                         6 Alvarez’ harm.

                                         7        119. Golden Boy Promotions and DOES, by engaging in the aforementioned
                                         8 acts and omissions, and/or by authorizing and/or ratifying such acts, engaged in

                                         9 willful, malicious, intentional, oppressive and despicable conduct, and acted with
                                        10 willful and conscious disregard for the rights, welfare, and safety of Alvarez, thereby

                                        11 justifying the award of punitive and exemplary damages in an amount to be
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                                        12 determined at trial.

                                        13                             TENTH CAUSE OF ACTION
                                        14                               DECLARATORY RELIEF
                                        15                  BY PLAINTIFFS AGAINST ALL DEFENDANTS
                                        16        120. Alvarez incorporates by reference as if fully set forth herein each of the
                                        17 preceding allegations.

                                        18        121. An actual controversy has arisen and now exists between the parties
                                        19 regarding their rights and obligations under the Contracts

                                        20        122. Alvarez seek a judicial determination as to the legal rights and duties of
                                        21 the parties, including but not limited to that due to the Defendants breaches he is

                                        22 eligible to participate in bouts arranged and promoted by entities other than Golden

                                        23 Boy Promotions and broadcast by entities other than DAZN.

                                        24        123. A judicial determination of the parties right is necessary and appropriate
                                        25 to ensure that the prime years of Alvarez’ career are not wasted to inactivity due to

                                        26 financial squabbles between Defendants in breach of the Contracts.

                                        27 ///

                                        28 ///
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                                                                                 COMPLAINT
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                                         1                                         PRAYER
                                         2 WHEREFORE, Alvarez prays for relief as follows:

                                         3        1.    For compensatory damages according to proof, including, but not limited
                                         4 to, the denied guaranteed payments, lost gate revenue, and opportunities for ancillary

                                         5 revenue associated with bouts, such as sponsorships and apparel revenue, of no less

                                         6 than $280 million;

                                         7        2.    For punitive damages according to proof;
                                         8        3.    For attorneys’ fees according to proof;
                                         9        4.    For costs of suit;
                                        10        5.    For judicial determination with Alvarez is eligible to participate in bouts
                                        11 arranged and promoted by entities other than Golden Boy Promotions and broadcast
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                                        12 by entities other than DAZN;

                                        13        6.    For such other and further relief as the Court determines is necessary and
                                        14 proper under the circumstances.

                                        15

                                        16                                    JURY DEMAND
                                        17        Plaintiffs demands a trial by jury.
                                        18

                                        19 Dated: September 8, 2020                           THE MALONEY FIRM LLP
                                        20

                                        21                                              By:    /s/ Gregory M. Smith         .
                                        22                                                          Gregory M. Smith
                                                                                                   Patrick M. Maloney
                                        23                                              Attorneys for Plaintiffs, SANTOS SAUL
                                        24                                                ALVAREZ BARRAGAN AND SA
                                                                                                    HOLIDAY, INC.
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                                                                                 COMPLAINT
